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 Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                     §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                     §
                                                     §
                                 Plaintiff,
                                                     §
                                                     §   Adv. Proc. No. 21-03003-sgj
 vs.
                                                     §
                                                     §
 JAMES DONDERO, NANCY DONDERO, AND THE
                                                     §
 DUGABOY INVESTMENT TRUST,                               Case No. 3:21-cv-01010-E
                                                     §
                                                     §
                                 Defendants.
                                                     §
                                                     §




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                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                                               §   Adv. Proc. No. 21-3004
                            Plaintiff,
                                               §
 vs.                                           §
                                               §
                                               §   Case No. 3:21-cv-00881-X
 HIGHLAND CAPITAL MANAGEMENT FUND              §
 ADVISORS, L.P.,                               §
                                               §
                                               §
                            Defendant.         §
                                               §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,             Adv. Proc. No. 21-3005
                                               §
                                               §
 vs.
                                               §
                                               §
 NEXPOINT ADVISORS, L.P., JAMES                    Case No. 3:21-cv-00880-C
                                               §
 DONDERO, NANCY DONDERO, AND
                                               §
 THE DUGABOY INVESTMENT TRUST,
                                               §
                                               §
                            Defendants.        §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,             Adv. Proc. No. 21-3006
                                               §
                                               §
 vs.
                                               §
                                               §
 HIGHLAND CAPITAL MANAGEMENT                       Case No. 3:21-cv-01378-N
                                               §
 SERVICES, INC., JAMES DONDERO,
                                               §
 NANCY DONDERO, AND THE DUGABOY
                                               §
 INVESTMENT TRUST,
                                               §
                                               §
                            Defendants.
                                               §




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 HIGHLAND CAPITAL MANAGEMENT, L.P.,                     §
                                                        §
                                                        §
                               Plaintiff,               § Adv. Proc. No. 21-3007
                                                        §
 vs.                                                    §
                                                        § Case No. 3:21-cv-01379-X
 HCRE PARTNERS, LLC (n/k/a NexPoint                     §
 Real Estate Partners, LLC), JAMES                      §
 DONDERO, NANCY DONDERO, AND                            §
 THE DUGABOY INVESTMENT TRUST,                          §
                                                        §
                                                        §
                               Defendants.              §

                STIPULATION GOVERNING THE ADMISSIBILITY OF
            EVIDENCE IN CONNECTION WITH PLAINTIFF’S MOTION FOR
                        PARTIAL SUMMARY JUDGMENT

        This Stipulation is entered into between and among Highland Capital Management, L.P.,

the plaintiff (the “Plaintiff”) in the above-referenced adversary proceedings (the “Adversary

Proceedings”), on the one hand, and James Dondero (“Mr. Dondero”), Highland Capital

Management Fund Advisors, L.P. (“HCMFA”), NexPoint Advisors, L.P. (“NexPoint”), Highland

Capital Management Services, Inc. (“HCMS”), and HCRE Partners, LLC (n/k/a NexPoint Real

Estate Partners, LLC) (“HCRE” and together with Mr. Dondero, NexPoint, and HCMS, the

“Defendants,” and Plaintiff and Defendants together, the “Parties”) on the other hand.

                                            RECITALS

        WHEREAS, on January 22, 2021, Plaintiff commenced the Adversary Proceedings against

each respective Defendant; and

        WHEREAS, Plaintiff subsequently amended its pleading to add additional claims and

parties (collectively, the “Amended Complaints”); and




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        WHEREAS, on December 17, 2021, Plaintiff will move for partial summary judgment

against each of the Defendants on the First and Second Claims for Relief set forth in the Amended

Complaints (the “Motion”); and

        WHEREAS, the Parties have conferred concerning the admissibility of certain documents

that Plaintiff intends to offer into evidence in support of its Motion, and counsel to the Parties

pledge to continue to confer in good faith on all evidentiary issues that may arise in connection

with Defendants’ opposition to the Motion and Plaintiff’s reply.

                                             STIPULATION

        NOW, THEREFORE, in consideration of the foregoing, the parties agree and stipulate as

follows:

                 1.         Attached as Exhibit A is Plaintiff’s Exhibit List that identifies each

document that Plaintiff intends to offer into evidence in support of the Motion (collectively, the

“Exhibits”).

                 2.         The Parties agree that all Parties, and not just the Plaintiff, can use the

Exhibits that are agreed to in this Stipulation with respect to admissibility.

                 3.         The Defendants, individually and collectively, have no objection to the

admission into evidence of any of the Exhibits, except Exhibits 38, 73, 78, 94-101, 105, and 192-

195.




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Dated: December 17, 2021

CONSENTED AND AGREED TO BY:


/s/ John A. Morris                                /s/ Davor Rukavina
John A. Morris (pro hac vice)                     Davor Rukavina (TX Bar No. 24030781)
(NY Bar No. 266326)                               Julian P. Vasek (TX Bar No. 24070790)
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                                                          jvasek@munsch.com
Attorneys for Debtor Highland Capital
Management, LP                                    Attorneys for Defendant NexPoint Advisors, L.P.




/s/ Michael P. Aigen
Deborah Deitsch-Perez (TX Bar No. 24036072)
Michael P. Aigen (TX Bar No. 24012196)
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Attorneys for NexPoint Advisors, L.P., Highland
Capital Management Services, Inc., and HCRE
LLC (n/k/a NexPoint Real Estate Partners, LLC)




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                                 CERTIFICATE OF SERVICE



        I certify that on December 17, 2021, a true and correct copy of the foregoing document

was served via the Court’s Electronic Case Filing system to the parties that are registered or

otherwise entitled to receive electronic notices in this adversary proceeding.



                                                     /s/ Zachery Annable
                                                     Zachery Annable




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                                EXHIBIT A
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        Highland Capital Management, L.P. Consolidated Notes Litigation

                                   SUMMARY JUDGMENT EXHIBITS

                                                                               Docket           Bates
Tab                                    Document
                                                                               No(s).

 1.      Complaint against HCMFA (Adv. Pro. No. 21-3004)                         1       D-CNL002795 - 814

         Amended Complaint against NPA et al. (Adv. Pro. No. 21-3005)                      D-CNL002935 -
 2.                                                                              63
                                                                                               3007

         Amended Complaint against HCMS (Adv. Pro. No. 21-3006)                            D-CNL003083 -
 3.                                                                              68
                                                                                               3165

         Amended Complaint against HCRE et al (Adv. Pro. No. 21-3007)                      D-CNL003241 -
 4.                                                                              63
                                                                                               3323

         HCMFA’s Original Answer (Adv. Pro. No. 21-3004)                                   D-CNL002868 -
 5.                                                                              6
                                                                                               2874

 6.      HCMS’s Answer to Plaintiff’s Complaint (Adv. Pro. No. 21-3006)          6              N/A

 7.      HCRE’s Answer to Plaintiff’s Complaint (Adv. Pro. No. 21-3007)          7              N/A
         HCMS’s Motion For Leave to File Amended Answer and Brief In
 8.                                                                              15             N/A
         Support (Adv. Pro. No. 21-3006)
         HCRE’s Motion For Leave to File Amended Answer and Brief In
 9.                                                                              16             N/A
         Support (Adv. Pro. No. 21-3007)
         HCMFA’s Motion For Leave to Amend Answer (Adv. Pro. No. 21-
 10.                                                                             32             N/A
         3004)
         NexPoint’s Motion For Leave to Amend Answer (Adv. Pro. No. 21-
 11.                                                                             35             N/A
         3005)
         HCMS’s First Amended Answer to Plaintiff’s Complaint (Adv. Pro.
 12.                                                                             34             N/A
         No. 21-3006)
 13.     HCMFA’s Amended Answer (Adv. Pro. No. 21-3004)                          48             N/A

 14.     NexPoint’s First Amended Answer (Adv. Pro. No. 21-3005)                 50             N/A

 15.     NexPoint’s Answer to Amended Complaint (Adv. Pro. No. 21-3005)          64             N/A

 16.     HCMS’s Answer to Amended Complaint (Adv. Pro. No. 21-3006)              73             N/A

 17.     HCRE’s Answer to Amended Complaint (Adv. Pro. No. 21-3007)              68             N/A
         HCMFA’s Objections and Responses to Plaintiff’s Requests For
 18.     Admissions, Interrogatories, and Requests For Production (Adv. Pro.    N/A             N/A
         No. 21-3004)

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                                                                                 Docket           Bates
Tab                                   Document
                                                                                 No(s).
         NexPoint’s Objections and Responses to Plaintiff’s Requests For
 19.     Admissions, Interrogatories, and Requests For Production (Adv. Pro.      N/A             N/A
         No. 21-3005)
         HCMS’s Responses to Highland Capital Management, L.P.’s First
 20.     Requests For Admissions (Adv. Pro. No. 21-3006)                          N/A       D-CNL003076 - 79
         HCMS’s Answers to Highland Capital Management, L.P.’s First Set
 21.     of Interrogatories (Adv. Pro. No. 21-3006)                               N/A       D-CNL003071 - 75
         HCRE’s Responses to Debtor Highland Capital Management, L.P.’s
 22.     Requests For Admissions (Adv. Pro. No. 21-3007)                          N/A             N/A
         HCRE’s Answers to Debtor Highland Capital Management, L.P.’s
 23.     First Set of Interrogatories (Adv. Pro. No. 21-3007)                     N/A             N/A
         James Dondero's Objections and Responses to Plaintiff’s Requests
 24.     For Admission, Interrogatories, and Requests For Production (Adv.        N/A             N/A
         Pro. No. 21-3003)
         Nancy Dondero's Objections and Responses to Plaintiff’s Requests
 25.     For Admission, Interrogatories, and Requests For Production (Adv.        N/A             N/A
         Pro. No. 21-3003)
         The Dugaboy Investment Trust’s Objections and Responses to
 26.     Plaintiff’s Requests For Admission, Interrogatories, and Requests For    N/A             N/A
         Production (Adv. Pro. No. 21-3003)
         NexPoint's Objections and Responses to Plaintiff’s Requests For
 27.     Admission, Interrogatories, and Requests For Production (Adv. Pro.       N/A             N/A
         No. 21-3005)
         HCMS’s Objections and Responses to Plaintiff’s Requests For
 28.     Admission, Interrogatories, and Requests For Production (Adv. Pro.       N/A             N/A
         No. 21-3006)
         HCRE’s Objections and Responses to Plaintiff’s Requests For
 29.     Admission, Interrogatories, and Requests For Production (Adv. Pro.       N/A             N/A
         No. 21-3007)
         Fourth Amended and Restated Agreement of Limited Partnership of                     D-CNL002970 –
 30.     Highland Capital Management, L.P.                                        N/A
                                                                                                 3005
         James Dondero’s Answer to Amended Complaint (Adv. Pro. No. 21-
 31.                                                                               83       D-CNL002045 - 59
         3003)
         Amended Complaint against James Dondero, et. al (Adv. Pro. No.                      D-CNL001975 -
 32.     21-3003)                                                                  79
                                                                                                 2044
         June 3, 2019 Management Representation Letter (J. Dondero 5/8/21
 33.                                                                              N/A      D-JDNL-033411 - 21
         Depo., Ex. 16) (P. Burger 7/30/21 Depo., Ex. 1)
         Highland’s Consolidated Financial Statements, dated December 31,                  D-CNL-000212 - 257
 34.     2018 (J. Dondero 5/8/21 Depo., Ex. 15) (P. Burger 7/30/21 Depo.,         N/A
         Ex. 4)

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                                                                              Docket           Bates
Tab                                   Document
                                                                              No(s).

 35.     HCMFA’s Incumbency Certificate, April 2019                             N/A        D-CNL003578

         Email string re 15(c) Follow up (10/2/21 – 10/6/21)                             D-HCMFA290880 –
 36.                                                                            N/A
                                                                                               83

 37.     NexPoint’s Incumbency Certificate                                      N/A        D-CNL003590

 38.     Schedule of HCMLP receipts from other Dondero-related notes            N/A        D-CNL003683

 39.     HCMLP Operating Results (February 2018) (Adv. Pro. No. 21-3003)       11-13            N/A
         Summary of Assets and Liabilities for Non-Individuals (Adv. Pro.
 40.     No. 21-3003) (J. Dondero 5/8/21 Depo., Ex. 17)                        11-15            N/A
         December 2019 Monthly Operating Report (Adv. Pro. No. 21-3003)
 41.     (J. Dondero 5/8/21 Depo., Ex. 22)                                     11-16            N/A

 42.     September 2020 Monthly Operating Report (Adv. Pro. No. 21-3003)       11-18            N/A
         Dondero Promissory Note in the amount of $7.9m dated January 18,
 43.     2018                                                                   N/A      D-CNL000550 - 51

 44.     INTENTIONALLY OMITTED
         HCMFA’s Consolidated Financial Statements and Supplemental
 45.     Information (December 31, 2018) (Adv. Pro. No. 21-3004)                35       D-CNL002273 - 96

 46.     NexPoint’s 2019 Audited Financial Statements                           N/A             N/A
         Plaintiff’s Amended Notice of Rule 30(b)(6) Deposition to NexPoint
 47.     Advisors, L.P. (Adv. Pro. No. 21-3005)                                 82              N/A
         Plaintiff’s Amended Notice of Rule 30(b)(6) Deposition to HCMS
 48.     (Adv. Pro. No. 21-3006)                                                87              N/A
         Plaintiff’s Amended Notice of Rule 30(b)(6) Deposition to HCRE
 49.     (Adv. Pro. No. 21-3007)                                                82              N/A

 50.     Jim Dondero 2017 PY Comp Statement                                     N/A        D-CNL003587

 51.     Jim Dondero 2018 PY Comp Statement                                     N/A        D-CNL003588

 52.     Jim Dondero 2019 PY Comp Statement                                     N/A        D-CNL003589

 53.     5/2/19 e-mail and attachment (spreadsheet)                             N/A       D-CNL003768-70

 54.     5/2/19 e-mail and attachment (Promissory Note)                         N/A       D-CNL003777-79

 55.     List of Wire Transfers (5/2/19)                                        N/A        D-CNL003772

 56.     5/3/19 e-mail                                                          N/A        D-CNL003763


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 57.      5/3/19 Promissory Note                                               N/A       D-CNL003764-65

 58.      13 Week Cash Flows 12.14.20                                          N/A        D-CNL003810

 59.      Supplemental 15(c) Information Request 10.23.20                      N/A        HCMFAS 25-31

 60.      7.31.20 HCMLP Requests                                               N/A       D-CNL003795-98

 61.      INTENTIONALLY OMITTED

 62.      INTENTIONALLY OMITTED

 63.      HCMLP Audited Financial Statements for 2008                          N/A       D-CNL000001-56

 64.      HCMLP Audited Financial Statements for 2009                          N/A      D-CNL000258-304

 65.      HCMLP Audited Financial Statements for 2010                          N/A      D-CNL000305-351

 66.      HCMLP Audited Financial Statements for 2011                          N/A      D-CNL000352 - 400

          James Dondero 2019 Form W-2 (NexPoint Residential Trust Inc.)                 EXPERT 0000001 -
 67.                                                                           N/A
          (REDACTED)                                                                          02

          James Dondero 2017 Form W-2 (NexPoint Residential Trust Inc.)                 EXPERT 0000937 -
67-2.                                                                          N/A
          (REDACTED)                                                                          39

          James Dondero 2013 Form 1040 (pdf page 279 of 335)                            EXPERT 0000031;
67-3.                                                                          N/A
          (REDACTED)                                                                         308

          James Dondero 2014 Form 1040 (pdf page 235 of 290)                            EXPERT 0000390;
67-4.                                                                          N/A
          (REDACTED)                                                                         623

          James Dondero 2015 Form 1040 (pdf page 200 of 254)                            EXPERT 0001325;
67-5.                                                                          N/A
          (REDACTED)                                                                         1523

          James Dondero 2016 Form 1040 (pdf page 182 of 235)                            EXPERT 0001999;
67-6.                                                                          N/A
          (REDACTED)                                                                         2179

          James Dondero 2017 Form 1040 (pdf page 170 of 225)                            EXPERT 0000704;
67-7.                                                                          N/A
          (REDACTED)                                                                         872

          James Dondero 2018 Form 1040 (pdf page 248 of 300)                            EXPERT 0001581;
67-8.                                                                          N/A
          (REDACTED)                                                                         1828

          James Dondero 2019 Form 1040 (pdf page 242 of 301)                            EXPERT 0001023;
67-9.                                                                          N/A
          (REDACTED)                                                                         1264


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                                                                               No(s).

 68.     Jim Dondero 2016 PY Comp Statement                                     N/A         D-CNL003585

 69.     HCMLP Audited Financial Statements for 2014                            N/A       D-CNL000109-157

 70.     HCMLP Audited Financial Statements for 2015                            N/A       D-CNL000158-211

 71.     HCMLP Audited Financial Statements for 2016                            N/A       D-CNL000452-501
         Highland’s Audited Financial Statements for 2017 (J. Dondero
 72.                                                                            N/A       D-CNL000502-549
         5/8/21 Depo., Ex. 13) (P. Burger 7/30/21 Depo., Ex. 2)
 73.     Schedule of HCMLP receipts from Dondero notes                          N/A         D-CNL003591
         Dondero Promissory Note in the amount of $3.825m dated February
 74.                                                                            N/A              N/A
         2, 2020 (J. Dondero 5/8/21 Depo., Ex. 1)
         HCMLP Operating Results (February 2018) (J. Dondero 5/8/21
 75.     Depo., Ex. 2)                                                          N/A              N/A
         Dondero Promissory Note in the amount of $2.5m dated August 1,
 76.                                                                            1-2              N/A
         2018 (Adv. Pro. No. 21-3003) (J. Dondero 5/8/21 Depo., Ex. 3)
         Dondero Promissory Note in the amount of $2.5m dated August 13,
 77.                                                                            N/A              N/A
         2018 (J. Dondero 5/8/21 Depo., Ex. 4)
         HCMLP Operating Results (August 2018) (J. Dondero 5/8/21 Depo.,
 78.     Ex. 5)                                                                 N/A              N/A

 79.     December 3, 2020 Demand Letter (J. Dondero 5/8/21 Depo., Ex. 6)        N/A              N/A
         James Dondero’s Original Answer (Adv. Pro. No. 21-3003) (J.
 80.     Dondero 5/8/21 Depo., Ex. 7)                                            6               N/A
         James Dondero's Objections and Responses to Highland Capital
 81.     Management, L.P.'s First Request For Admissions (Adv. Pro. No. 21-     N/A              N/A
         3003) (J. Dondero 5/8/21 Depo., Ex. 8)
         James Dondero's Objections and Responses to Highland Capital
 82.     Management, L.P.'s First Set of Interrogatories (Adv. Pro. No. 21-     N/A              N/A
         3003) (J. Dondero 5/8/21 Depo., Ex. 9)
         James Dondero's Amended Answer (Adv. Pro. No. 21-3003) (J.
 83.                                                                             16              N/A
         Dondero 5/8/21 Depo., Ex. 10)
         James Dondero's Objections and Responses to Highland Capital
 84.     Management, L.P.'s Second Request For Admissions (Adv. Pro. No.        N/A              N/A
         21-3003) (J. Dondero 5/8/21 Depo., Ex. 11)
         James Dondero's Objections and Responses to Highland Capital
 85.     Management, L.P.'s Second Set of Interrogatories (Adv. Pro. No. 21-    N/A              N/A
         3003) (J. Dondero 5/8/21 Depo., Ex. 12)
         May 18, 2018 Management Representation Letter (J. Dondero 5/8/21
 86.     Depo., Ex. 14)                                                         N/A       D-JDNL-033400-10
         Statement of Financial Affairs For Nonindividuals Filing Bankruptcy
 87.                                                                            248              N/A
         (Case No. 19-34054) (J. Dondero 5/8/21 Depo., Ex. 19)


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Tab                                   Document
                                                                                No(s).
          October 2019 Monthly Operating Report (Case No. 19-34054) (J.
 88.                                                                              405             N/A
          Dondero 5/8/21 Depo., Ex. 20)
          November 2019 Monthly Operating Report (Case No. 19-34054) (J.
 89.                                                                              289             N/A
          Dondero 5/8/21 Depo., Ex. 21)
          Exhibit C, Liquidation Analysis/Financial Projections (Case No. 19-
 90.                                                                             1473             N/A
          34054) (J. Dondero 5/8/21 Depo., Ex. 23)
          Highland Capital Management LP Financial Projections (1/28/21) (J.
 91.                                                                              N/A             N/A
          Dondero 5/8/21 Depo., Ex. 24)
 92.      2017 Workpapers (P. Burger 7/30/21 Depo., Ex. 3)                        N/A             N/A

 93.      2018 Workpapers (P. Burger 7/30/21 Depo., Ex. 5)                        N/A             N/A

 94.      Peet Burger 7/30/21 Deposition Transcript                               N/A             N/A

 95.      James Dondero 1/5/21 Deposition Transcript                              N/A             N/A

 96.      James Dondero 5/28/21 Deposition Transcript                             N/A             N/A

 97.      James Dondero 6/1/21 Deposition Transcript                              N/A             N/A

 98.      James Dondero 10/29/21 Deposition Transcript                            N/A             N/A

 99.      James Dondero 11/4/21 Deposition Transcript                             N/A             N/A

 100. Nancy Dondero 10/18/21 Deposition Transcript                                N/A             N/A

 101. Alan Johnson (Expert)11_02_21 Deposition Transcript                         N/A             N/A

 102. INTENTIONALLY OMITTED

 103. INTENTIONALLY OMITTED

 104. INTENTIONALLY OMITTED

 105. Frank Waterhouse 10/19/21 Deposition Transcript                             N/A             N/A

 106. Payment from James Dondero dated 12/08/17                                   N/A       D-CNL003542-45

 107. Payment from James Dondero dated 12/18/17                                   N/A       D-CNL003546-55

 108. Payment from James Dondero dated 02/14/19                                   N/A      D-CNL003490-500

 109. Payment from James Dondero dated 03/13/2019                                 N/A       D-CNL003503-12
          Payments from James Dondero dated 05/02/19, 05/03/19, 05/07/19,
 110.                                                                             N/A       D-CNL003515-27
          05/23/19
 111. Payment from James Dondero dated 06/17/19                                   N/A       D-CNL003528-32
                                                        6
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                                                                          Docket           Bates
Tab                               Document
                                                                          No(s).

 112. Payment from James Dondero dated 12/23/19                             N/A       D-CNL003556-62

 113. Payment from HCMFA dated 05/29/19                                     N/A       D-CNL003617-29

 114. Payment from HCMFA dated 09/05/19                                     N/A       D-CNL003663-65

 115. Payment from HCMFA dated 10/03/19                                     N/A       D-CNL003666-75

 116. Payment from HCRE dated 09/30/19                                      N/A       D-CNL003655-62

 117. Payment from NPA dated 04/16/2019                                     N/A       D-CNL003608-16

 118. Payment from NPA dated 06/19/19                                       N/A       D-CNL003639-43

 119. Payment from NPA dated 07/09/19                                       N/A       D-CNL003644-51

 120. Payments from HCMSI and NPA dated 03/05/19 and 03/29/19               N/A      D-CNL003598-607

 121. Payments from HCMSI and NPA dated 08/09/19, 08/13/19, 08/21/19        N/A       D-CNL003652-54

 122. Payments from HCRE, HCMSI, NPA dated 12/09/19, 12/30/19               N/A       D-CNL003676-82

 123. Payments from HCMFA and NPA dated 06/04/19                            N/A       D-CNL003630-38

 124. Payment from NPA, HCMSI, HCRE dated 01/14/21 and 01/21/21             N/A       D-CNL003593-97

 125. Payment to James Dondero dated 02/02/18                               N/A      D-JDNL-033060-74

 126. Payments to James Dondero dated 08/01/18 and 08/13/18                 N/A      D-JDNL-033057-59

 127. Payment to HCMSI dated 05/29/15                                       N/A       HCMS000094-96

 128. Payment to HCMSI dated 10/01/15, 10/02/15, and 10/30/15               N/A       HCMS000156-62

 129. Payment to HCMSI dated 10/27/15                                       N/A       HCMS000166-68

 130. Payment to HCMSI dated 10/28/15                                       N/A       HCMS000163-65

 131. Payment to HCMSI dated 11/23/15                                       N/A       HCMS000172-76

 132. Payment to HCMSI dated 11/24/15                                       N/A       HCMS000169-71

 133. Payment to HCMSI dated 02/10/16                                       N/A       HCMS000072-77

 134. Payment to HCMSI dated 02/11/16                                       N/A       HCMS000056-71

 135. Payment to HCMSI dated 04/05/16                                       N/A       HCMS000082-93

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                                                                         Docket           Bates
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 136. Payment to HCMSI dated 05/04/16                                      N/A       HCMS000097-99

 137. Payment to HCMSI dated 07/01/16                                      N/A       HCMS000122-125

 138. Payment to HCMSI dated 08/05/16                                      N/A       HCMS000126-39

 139. Payment to HCMSI dated 08/19/16                                      N/A       HCMS000140-43

 140. Payment to HCMSI dated 09/22/16                                      N/A       HCMS000144-55

 141. Payment to HCMSI dated 12/12/16                                      N/A       HCMS000177-80

 142. Payment to HCMSI dated 03/31/17                                      N/A       HCMS000078-81

 143. Payment to HCMSI dated 03/26/18                                      N/A       HCMS000181-83

 144. Payment to HCMSI dated 06/25/18                                      N/A       HCMS000184-86

 145. Payment to HCMSI dated 05/29/19                                      N/A       HCMS000100-12

 146. Payment to HCMSI dated 06/26/19                                      N/A       HCMS000113-21

 147. Payments to HCMFA dated 05/02/19 and 05/03/19                        N/A             N/A

 148. Payment to HCRE dated 11/27/13                                       N/A      D-HCRE-000114-16

 149. Payment to HCRE dated 01/09/14                                       N/A      D-HCRE-000100-06

 150. Payment to HCRE dated 01/30/14                                       N/A      D-HCRE-000060-62

 151. Payment to HCRE dated 03/28/14                                       N/A      D-HCRE-000107-13

 152. Payment to HCRE dated 01/26/15                                       N/A      D-HCRE-000063-65

 153. Payment to HCRE dated 04/02/15                                       N/A      D-HCRE-000066-71

 154. Payment to HCRE dated 10/12/17                                       N/A      D-HCRE-000080-90

 155. Payment to HCRE dated 10/15/18                                       N/A      D-HCRE-000091-99

 156. Payment to HCRE dated 09/25/19                                       N/A      D-HCRE-000072-79

 157. Payment to NPA dated 08/21/14                                        N/A      D-NNL-029156-59

 158. Payment to NPA dated 10/01/14                                        N/A      D-NNL-029160-66

 159. Payment to NPA dated 11/14/14                                        N/A      D-NNL-029167-69

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 160. Payment to NPA dated 01/29/15                                          N/A      D-NNL-029152-55

 161. Payment to NPA dated 07/22/15                                          N/A      D-NNL-029171-85

 162. Robert Half Legal Invoices dated 05/06/21 and 5/20/21                  N/A       D-CNL003821-23

 163. Robert Half Legal Invoice dated 06/17/21                               N/A       D-CNL003824-25

 164. Robert Half Legal Invoice dated 07/01/21                               N/A       D-CNL003826-27

 165. Robert Half Legal Invoice dated 07/15/21                               N/A       D-CNL003828-29

 166. Robert Half Legal Invoice dated 08/19/21                               N/A       D-CNL003830-31

 167. Robert Half Legal Invoice dated 09/16/21                               N/A       D-CNL003832-33

 168. Robert Half Legal Invoices dated 09/02/21 and 09/30/21                 N/A       D-CNL003834-36

 169. Highland December 2020 Billing Detail                                  N/A       D-CNL000979-89

 170. Highland January 2021 Billing Detail                                   N/A      D-CNL000995-1016

 171. Highland February 2021 Billing Detail                                  N/A       D-CNL000990-94

 172. Highland March 2021 Billing Detail                                     N/A      D-CNL001080-1105

 173. Highland April 2021 Billing Detail                                     N/A       D-CNL000923-58

 174. Highland May 2021 Billing Detail                                       N/A       D-CNL001106-53

 175. Highland June 2021 Billing Detail                                      N/A       D-CNL001042-79

 176. Highland July 2021 Billing Detail                                      N/A       D-CNL001017-41

 177. Highland August 2021 Billing Detail                                    N/A       D-CNL001154-57

 178. Highland Supplemental August 2021 Billing Detail                       N/A       D-CNL000959-78

 179. Highland September 2021 Billing Detail                                 N/A       D-CNL003812-20

 180. Highland October 2021 Billing Detail                                   N/A       D-CNL003837-66

 181. Declaration of Dennis C. Sauter, Jr. (Adv. Pro. No. 21-3004)          32-1             N/A

 182. GAF Resolution Memo dated May 28, 2019                                 N/A             N/A

 183. INTENTIONALLY OMITTED

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 184. Defendant James Dondero’s Rule 26 Initial Disclosures                        N/A              N/A
          Plaintiff's Third Amended Notice of Rule 30(b)(6) Deposition to
 185.                                                                               84              N/A
          HCMFA (Adv. Pro. No. 21-3004)
 186. INTENTIONALLY OMITTED

 187. INTENTIONALLY OMITTED
      Email from David Klos to the Debtor’s Corporate Accounting group,
 188. with a copy to Melissa Schroth, dated February 2, 2018 (Adv. Pro.            11-1             N/A
      No. 21-3003)
      Email dated February 2, 2018 confirming a wire transfer in the
 189. amount of $3,825,000 from the Debtor to James Dondero (Adv. Pro.             11-2             N/A
      No. 21-3003)
      (a) Email from Blair Hillis to David Klos and the Debtor’s Corporate
      Accounting group, with a copy to Melissa Schroth, dated August 1,
 190. 2018 and (b) an email from David Klos to the Debtor’s Corporate              11-4             N/A
      Accounting group, with a copy to Melissa Schroth, dated August 1,
      2018 (Adv. Pro. No. 21-3003)
      Email chain re Objections to Rule 30(b)(6) Notices (October 7 – 15,
 191.                                                                              N/A              N/A
      2021)
 192. Dustin Norris 12/1/21 Deposition Transcript                                  N/A              N/A

 193. Dennis C. Sauter 11/17/21 Deposition Transcript                              N/A              N/A

 194. Kristin Hendrix 10/27/21 Deposition Transcript                               N/A              N/A

 195. David Klos 10/27/21 Deposition Transcript                                    N/A              N/A
          Debtor’s back-up for the December Monthly Operating Report, titled
 196.                                                                             11-17             N/A
          “December 2019 Due From Affiliates” (Adv. Pro. No. 21-3003)
          Debtor’s back-up for the September Monthly Operating Report, titled
 197.                                                                             11-19             N/A
          “September 2020 Due From Affiliates” (Adv. Pro. No. 21-3003)
          Debtor’s back-up for the January 2021 Monthly Operating Report,
 198.                                                                             11-21             N/A
          titled “January 2021 Due From Affiliates” (Adv. Pro. No. 21-3003)
          Debtor’s January 2021 Affiliates Loan Receivables Summary (Adv.
 199.                                                                             11-22             N/A
          Pro. No. 21-3003)

 200. Amortization Schedule (K. Hendrix 10/27/21 Depo., Ex. 14)                    N/A       D-NNL-029141-51

           Debtor’s Motion to Cause Distributions to Certain “Related Entities”
 201.                                                                              474              N/A
          (Case No. 19-34054)

          Committee’s Objection to Debtor’s Motion to Cause Distributions to
 202.                                                                              487              N/A
          Certain “Related Entities” (Case No. 19-34054)
                                                       10
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      Joinder of Acis Capital Management, L.P. and Acis Capital
      Management GP, LLC to Committee’s Objection to Debtor’s Motion
 203.                                                                            489             N/A
      to Cause Distributions to Certain “Related Entities” (Case No. 19-
      34054)
          Debtor’s Reply in Support of Motion to Cause Distributions to
 204.                                                                            499             N/A
          Certain “Related Entities” (Case No. 19-34054)
          NexPoint’s Amended and Restated Shared Services Agreement as of
 205.                                                                           86-2             N/A
          January 1, 2018 (Adv. Pro. No. 21-3005)

 206. Transcript of February 2, 2021 Hearing                                     N/A             N/A

 207. Transcript of February 3, 2021 Hearing                                     N/A             N/A




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    IN RE: HIGHLAND CAPITAL
       MANAGEMENT, L.P.
 CONSOLIDATED NOTES LITIGATION




      SUMMARY
      JUDGMENT
       EXHIBITS
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